Case 2:16-cv-02942-DSF-KS Document 310-2 Filed 04/29/20 Page 1 of 5 Page ID #:4939




     1   GLANCY PRONGAY                         LABATON SUCHAROW LLP
                & MURRAY LLP                    JAMES W. JOHNSON (pro hac vice)
     2   JOSHUA L. CROWELL (295411)             MICHAEL H. ROGERS (pro hac vice)
         1925 Century Park East                 IRINA VASILCHENKO (pro hac vice)
     3   Suite 2100                             JAMES T. CHRISTIE (pro hac vice)
         Los Angeles, CA 90067                  MARGARET SCHMIDT (pro hac vice)
     4   Telephone: (310) 201-9150              140 Broadway
         Facsimile: (310) 432-1495              New York, NY 10005
     5   jcrowell@glancylaw.com                 Telephone: (212) 907-0700
                                                Facsimile: (212) 818-0477
     6   Liaison Counsel for Lead Plaintiff the jjohnson@labaton.com
         Public School Retirement System of the mrogers@labaton.com
     7   School District of Kansas City,        ivasilchenko@labaton.com
         Missouri and Liaison Counsel           jchristie@labaton.com
     8   for the Proposed Class                 mschmidt@labaton.com
     9                                                  Attorneys for Lead Plaintiff the Public
                                                        School Retirement System of the
    10                                                  School District of Kansas City,
                                                        Missouri and Lead Counsel
    11                                                  for the Proposed Class
    12                          UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
    13
         VANCOUVER ALUMNI ASSET                   Master File No. 16-cv-02942-DSF-KS
    14   HOLDINGS INC., Individually and on
         Behalf of All Others Similarly Situated,
    15
                       Plaintiffs,                      Judge:       Hon. Dale S. Fischer
    16
                v.
    17                                                  DECLARATION OF JAMES W.
         DAIMLER AG, DIETER ZETSCHE,                    JOHNSON IN SUPPORT OF LEAD
    18   BODO UEBBER, and THOMAS                        PLAINTIFF’S UNOPPOSED
         WEBER,                                         MOTION FOR PRELIMINARY
    19                                                  APPROVAL OF PROPOSED CLASS
                       Defendants.                      ACTION SETTLEMENT
    20
    21   MARIA MUNRO, Individually and on Case No. 16-cv-03412-DSF-KS
         Behalf of All Others Similarly Situated,
    22
                       Plaintiffs,                      Hearing:
    23
                v.                                      Date: May 18, 2020
    24                                                  Time: 1:30 p.m.
         DAIMLER AG, DIETER ZETSCHE,                    Place: Courtroom 7D
    25   BODO UEBBER, and THOMAS                        Judge: Hon. Dale S. Fischer
         WEBER,
    26
                       Defendants.
    27
    28
         DECLARATION OF JAMES W. JOHNSON
         CASE NO. 16-CV-02942-DSF-KS AND 16-CV-03412-DSF-KS
Case 2:16-cv-02942-DSF-KS Document 310-2 Filed 04/29/20 Page 2 of 5 Page ID #:4940




     1          I, JAMES W. JOHNSON, declare under penalty of perjury, pursuant to 28
     2   U.S.C. § 1746:
     3          1.      I am a member of the law firm of Labaton Sucharow LLP, Court-
     4   appointed Lead Counsel in this proposed class action, and am admitted pro hac
     5   vice to practice before this Court. I respectfully submit this declaration in support
     6   of Lead Plaintiff’s Unopposed Motion for Preliminary Approval of Proposed
     7   Class Action Settlement.
     8          2.      True and correct copies of the following documents are annexed
     9   hereto:
    10          Exhibit 1:     Stipulation and Agreement of Settlement, dated as of April 20,
    11   2020, with exhibits thereto.
    12          Exhibit 2:     Firm resume of Labaton Sucharow LLP.
    13          Exhibit 3:     Laarni T. Bulan and Laura E. Simmons, Securities Class
    14   Action Settlements – 2019 Review and Analysis (Cornerstone Research 2020).
    15          Exhibit 4:     Firm resume of A.B. Data, Ltd., the proposed claims
    16   administrator for the Settlement.
    17          Exhibit 5:     A.B. Data, Ltd. price proposal for notice and claims
    18   administration services.
    19          I declare under penalty of perjury that the foregoing is true and correct.
    20   Executed on April 29, 2020.
    21
                                                              /s/ James W. Johnson
    22                                                         JAMES W. JOHNSON
    23
    24
    25
    26
    27
    28
         DECLARATION OF JAMES W. JOHNSON
         CASE NO. 16-CV-02942-DSF-KS AND 16-CV-03412-DSF-KS
Case 2:16-cv-02942-DSF-KS Document 310-2 Filed 04/29/20 Page 3 of 5 Page ID #:4941




     1                               CERTIFICATE OF SERVICE
     2          I hereby certify that on April 29, 2020, I authorized the electronic filing of
     3   the foregoing with the Clerk of the Court using the CM/ECF system, which will
     4   send notification of such filing to the e-mail addresses denoted on the attached
     5   Electronic Mail Notice List served via ECF on all registered participants only.
     6          I certify under penalty of perjury under the laws of the United States of
     7   America that the foregoing is true and correct.
     8          Executed on April 29, 2020
     9
    10                                               /s/ James W. Johnson
                                                         James W. Johnson
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
         CERTIFICATE OF SERVICE
         CASE NO. 16-CV-02942-DSF-KS AND 16-CV-03412-DSF-KS
Case 2:16-cv-02942-DSF-KS Document 310-2 Filed 04/29/20 Page 4 of 5 Page ID #:4942



         Mailing Information for a Case 2:16-cv-02942-DSF-KS Vancouver Alumni
     1   Asset Holdings, Inc. v. Daimler AG et al
     2   Electronic Mail Notice List
     3   The following are those who are currently on the list to receive e-mail notices for this case.
     4      Eric J Belfi
             ebelfi@labaton.com,lpina@labaton.com,4076904420@filings.docketbird.com,electroniccasefiling@labaton.com
     5
            James T Christie
     6       jchristie@labaton.com,lpina@labaton.com,smundo@labaton.com,9436348420@filings.docketbird.com,electroniccasefilin
             g@labaton.com
     7
            Paul J Collins
     8       pcollins@gibsondunn.com,PLe@gibsondunn.com,eoldiges@gibsondunn.com,mjkahn@gibsondunn.com,JRodriguez@gibs
             ondunn.com,cthomas@gibsondunn.com
     9
            Joshua Lon Crowell
    10       jcrowell@glancylaw.com,joshua-crowell-496@ecf.pacerpro.com,info@glancylaw.com

    11      Jenny Lynn Grantz
             jenny.grantz@squirepb.com,carrie.takahata@squirepb.com
    12
            James W Johnson
    13       jjohnson@labaton.com,7592785420@filings.docketbird.com,lpina@labaton.com,smundo@labaton.com,electroniccasefilin
             g@labaton.com
    14
            Michael J Kahn
    15       mjkahn@gibsondunn.com,jrodriguez@gibsondunn.com,SChoi@gibsondunn.com

    16      Christopher J Keller
             ckeller@labaton.com,5497918420@filings.docketbird.com,lpina@labaton.com,electroniccasefiling@labaton.com
    17
            Matthew J Kemner
    18       matthew.kemner@squirepb.com,Marsi.Allard@SquirePB.com

    19      Francis P McConville
             fmcconville@labaton.com,HChang@labaton.com,lpina@labaton.com,drogers@labaton.com,9849246420@filings.docketb
    20       ird.com,electroniccasefiling@labaton.com

    21      Danny Lam Nguyen
             danny.nguyen@usdoj.gov
    22
            Jennifer Pafiti
    23       jpafiti@pomlaw.com,jalieberman@pomlaw.com,ahood@pomlaw.com,tcrockett@pomlaw.com,disaacson@pomlaw.com,a
             shmatkova@pomlaw.com,abarbosa@pomlaw
    24
            Robert Vincent Prongay
    25       rprongay@glancylaw.com,CLinehan@glancylaw.com,robert-prongay-0232@ecf.pacerpro.com

    26      Michael H Rogers
             mrogers@labaton.com,lpina@labaton.com,8956253420@filings.docketbird.com,electroniccasefiling@labaton.com
    27
            Laurence M Rosen
    28       lrosen@rosenlegal.com
         MAILING LIST                                                                                                    1
         CASE NO. 16-CV-02942-DSF-KS AND 16-CV-03412-DSF-KS
Case 2:16-cv-02942-DSF-KS Document 310-2 Filed 04/29/20 Page 5 of 5 Page ID #:4943



            Jonathan M Rotter
     1       jrotter@glancylaw.com,jonathan-rotter-5262@ecf.pacerpro.com

     2      Margaret Schmidt
             mschmidt@labaton.com,lpina@labaton.com,electroniccasefiling@labaton.com
     3
            Christopher S Turner
     4       christopher.turner@lw.com,washington-dc-litigation-services-5378@ecf.pacerpro.com,christopher-turner-
             6162@ecf.pacerpro.com,DCECFNotificationsDC@lw.com
     5
            Irina Vasilchenko
     6       ivasilchenko@labaton.com,lpina@labaton.com,ElectronicCaseFiling@labaton.com,8032137420@filings.docketbird.com

     7      Peter Allen Wald
             peter.wald@lw.com,peter-wald-7073@ecf.pacerpro.com,#sflitigationservices@lw.com
     8
            Troy M Yoshino
     9       troy.yoshino@squirepb.com,carrie.takahata@squirepb.com

    10      Meryl L Young
             myoung@gibsondunn.com,pmclean@gibsondunn.com
    11
            Nicole M Zeiss
    12       NZeiss@labaton.com,5854006420@filings.docketbird.com,lpina@labaton.com,ElectronicCaseFiling@labaton.com,Settle
             mentquestions@labaton.com,cboria@labaton.
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
         MAILING LIST                                                                                                   2
         CASE NO. 16-CV-02942-DSF-KS AND 16-CV-03412-DSF-KS
